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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA


   STATE OF MISSOURI, et al.,

           Plaintiffs,                                      No. 22-cv-1213

      v.                                                    Consolidated with No. 23-cv-381

   JOSEPH R. BIDEN, JR., in his official capacity as        Judge Terry A. Doughty
   President of the United States of America, et al.,       Mag. Judge Kayla D. McClusky

           Defendants.



                     DEFENDANTS’ SUPPLEMENTAL BRIEF IN RESPONSE TO
                          COURT’S ORDER OF AUGUST 27, 2024
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                                          INTRODUCTION
         After reviewing a factual record based on “extensive discovery,” the Supreme Court held

  that the Plaintiffs in this action had not met their burden to show Article III standing and remanded

  for further proceedings consistent with that opinion. Murthy v. Missouri, 144 S. Ct. 1972, 1984-

  85 (2024). The only disposition consistent with that opinion is dismissal of this action without

  prejudice for lack of subject-matter jurisdiction. Absent Article III standing, there is no subject-

  matter jurisdiction. “Jurisdiction is power to declare the law, and when it ceases to exist, the only

  function remaining to the court is that of announcing the fact and dismissing the cause.” Steel Co.

  v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998) (quoting Ex parte McCardle, 74 U.S. (7 Wall.)

  506, 514 (1868)) (emphasis added).

         Plaintiffs’ contrary arguments seeking to avoid dismissal are untenable.

         First, Plaintiffs rely on this Court’s March 2023 denial of the motions to dismiss the Second

  Amended Complaint and argue that this pleadings-stage win entitles them to proceed further in

  this action. But the Supreme Court’s analysis of the facts and legal standards in Missouri controls

  Plaintiffs’ claims. The Supreme Court’s determinations supersede this Court’s earlier findings, so

  this Court’s prior ruling on Defendants’ motion to dismiss is not the law of the case. In opposing

  Plaintiffs’ motion for a preliminary injunction, Defendants brought a factual challenge to Plaintiffs’
  standing, requiring Plaintiffs to prove standing by a preponderance of the evidence. The Supreme

  Court found Plaintiffs’ evidence inadequate. Plaintiffs now seek to rely on the same evidence and

  the same legal arguments that the Supreme Court has already rejected. Because the Supreme

  Court’s determinations are binding, this Court should dismiss the case for lack of subject-matter

  jurisdiction under Rule 12(b)(1) or 12(h)(3).
         Second, alternatively, if the Court does not dismiss the case outright, it should stay any

  discovery pending the filing by Defendants and disposition by this Court of Rule 12 motions

  directed to the operative Third Amended Complaint, to which Defendants have not yet had

  opportunity to respond, or an amended pleading if this Court allows one. Discovery should not

  resume until the operative pleading is properly examined under the controlling legal standards the
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  Supreme Court reiterated in Missouri. And those standards may further be clarified in the pending

  appeal from the preliminary injunction in the consolidated Kennedy action (argued before the Fifth

  Circuit today).

         Third, Plaintiffs offer supplemental declarations from two plaintiffs, Jill Hines and Dr.

  Jayanta Bhattacharya, and argue that those declarations establish standing and warrant further

  jurisdictional and merits discovery. But whether taken as proffered evidence or as factual

  allegations presumed true on a motion to dismiss, the new submissions fail to show “real and

  immediate threat of repeated injury” any more than the record previously did. Missouri, 144 S.

  Ct. at 1986. In assessing the future injury requirement, the Supreme Court emphasized that,

  “without proof of an ongoing pressure campaign” by Defendants against social media platforms,

  “it is entirely speculative that the platforms’ future moderation decisions will be attributable, even

  in part, to the defendants.” Id. at 1993. That speculation doomed Plaintiffs’ prior standing

  submissions. And the Supreme Court concluded that “[o]n this record”—the record that, apart

  from the new declarations, is the only record in this case—the alleged “frequent, intense

  communications that took place in 2021 between the Government defendants and the platforms

  had considerably subsided by 2022,” such that “[b]y August 2022, . . . the officials’

  communications about COVID-19 misinformation had slowed to a trickle.” Id. at 1994. None of

  the declarations addresses any ongoing (much less future) “pressure” on platforms by any

  Defendant regarding Plaintiffs’ social media content.

         In the new declarations, Plaintiffs also appear to assume that each time they describe a

  content moderation incident, they have shown “that the platforms continue to suppress their speech

  according to policies initially adopted under Government pressure.” Id. at 1995. But even on the

  assumption that Plaintiffs’ factual assertion “may be true,” id., the Supreme Court concluded

  Plaintiffs “have a redressability problem” because they lack “evidence of continued pressure from

  the defendants.” Id. Without such evidence, there remains no basis to conclude that an injunction

  “stopping certain Government agencies and employees from coercing or encouraging the

  platforms to suppress speech” would affect the platforms’ future content-moderation decisions.

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 See id. at 1995-1996 & n.11. In sum, Plaintiffs have done nothing to solve the fundamental

 redressability problem that led the Supreme Court to find jurisdiction lacking.

        In any event, Plaintiffs’ bid for additional jurisdictional and merits discovery is unavailing.

 In what the Supreme Court characterized as “extensive” discovery in service of the preliminary

 injunction motion, Murthy, 144 S. Ct. at 1984, Plaintiffs obtained what they count as “almost

 20,000” pages of documents, nearly 100 pages of interrogatory responses, and depositions of six

 witnesses. Hence, Plaintiffs had ample opportunity to obtain information about their standing, and

 they fail to identify what specific facts they would reasonably expect to uncover that would cure

 the serious defects in standing identified by the Supreme Court if authorized to conduct

 jurisdictional discovery. Nor can a plaintiff lacking Article III standing simply proceed to the

 merits as though the defect in its showing of subject-matter jurisdiction could be assumed away.

 See Steel Co., 523 U.S. at 101 (Article III jurisdiction is “always an antecedent question” because

 “[h]ypothetical jurisdiction produces nothing more than a hypothetical judgment”).

        Fourth, Plaintiffs seek leave to amend, i.e., to file a Fourth Amended Complaint, which

 would add as plaintiffs unidentified members of the so-called “Disinformation Dozen.” That

 request is procedurally deficient because Plaintiffs have not filed a proposed amended pleading

 that would allow Defendants and the Court to assess the particular allegations they propose to add.

 The request reflects undue delay, because Plaintiffs have made allegations about the

 “Disinformation Dozen” as early as their original complaint in this action in May 2022, and have

 no explanation for why they waited more than two years to propose including those unidentified

 parties as plaintiffs in this action. Amendment would also be futile, because the proposed addition

 of members of the “Disinformation Dozen” would not cure the fundamental deficiencies that the

 Supreme Court identified—the absence of evidence of content moderation traceable to any

 ongoing government conduct and redressable by a court order against Defendants. And, in any

 event, any such amended pleading would fail under Rule 12(b)(6) because the Government’s

 communications with platforms did not constitute a “threat” in violation of the First Amendment



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 under the test for “coercion” recently clarified in National Rifle Association of America v. Vullo,

 602 U.S. 175 (2024).

        In sum, the Court should dismiss this action without prejudice for lack of subject-matter

 jurisdiction, consistent with the analysis of the Supreme Court. If the Court declines to dismiss

 and returns this action to the pleading stage, the Court should set a briefing schedule for Defendants

 to file a Rule 12 motion on the operative complaint, including if amendment is authorized, and

 additional discovery should not proceed until after that Rule 12 motion has been resolved. In all

 events, further discovery should not occur until after the Fifth Circuit has issued its decision on

 appeal from the preliminary injunction in the consolidated Kennedy action.

                                          BACKGROUND
        In Missouri, two States and several individuals sued an array of federal defendants relating

 to content moderation on social-media platforms.1 On June 26, 2024, the Supreme Court held in

 Missouri that “neither the individual nor the state plaintiffs have established Article III standing to

 seek an injunction against any defendant.” 144 S. Ct. at 1985. Accordingly, the Supreme Court

 “reverse[d] the judgment of the Fifth Circuit.” Id. at 1997.

        As to a speaker theory of standing, the Supreme Court held that “the plaintiffs must show

 a substantial risk that, in the near future, at least one platform will restrict the speech of at least

 one plaintiff in response to the actions of at least one Government defendant.” Id. at 1986. “And

 even where the plaintiff, platform, time, content, and defendant line up, the links must be evaluated

 in light of the platform’s independent incentives to moderate content.” Id. at 1988.

        The Supreme Court determined that the plaintiffs had failed to make that showing. First,

 the Supreme Court concluded that the plaintiffs had not established “specific causation” because

 each plaintiff failed to show “that a particular defendant pressured a particular platform to censor


 1
    This Court entered a preliminary injunction on July 4, 2023, after granting plaintiffs extensive
 discovery. Missouri v. Biden, 680 F. Supp. 3d 630 (W.D. La. 2023). The Fifth Circuit affirmed
 in part, reversed in part, vacated in part, and modified the injunction. 83 F.4th 350 (5th Cir. 2023).
 The Supreme Court granted certiorari and stayed the modified injunction pending its review.
 Murthy v. Missouri, 144 S. Ct. 7 (2023).

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 a particular topic before that platform suppressed a particular plaintiff’s speech on that topic.” Id.

 at 1986, 1988. Assessing the asserted “direct censorship injuries” on a plaintiff-by-plaintiff,

 defendant-by-defendant, and platform-by-platform basis, the Supreme Court concluded that no

 plaintiff had established past injuries traceable to the government conduct at issue. The Supreme

 Court rejected the contention that plaintiffs’ episodes of content moderation sufficed to confer

 Article III standing because there was no evidence that any of those episodes of content moderation

 had been caused by any action of the government. Id. at 1991-92.

        Second, the Supreme Court emphasized that plaintiffs failed to show “‘a real and

 immediate threat of repeated injury,’” as required to obtain prospective relief, id. at 1986 (citation

 omitted). The Court first disposed of plaintiffs who “fail[ed] to establish traceability for past

 harms,” because that failure “substantially undermines” standing for future relief. Id. at 1993

 (citation omitted). And even for Jill Hines, the plaintiff with “the best showing of a connection”

 that could constitute traceable past injury, the Supreme Court concluded that she lacked standing

 because “[b]y August 2022, when [that plaintiff] joined the case, the officials’ communications

 about COVID-19 misinformation had slowed to a trickle.” Id. at 1994. Thus, as to all plaintiffs,

 “without proof of an ongoing pressure campaign,” the Supreme Court determined it was “entirely

 speculative that the platforms’ future moderation decisions will be attributable, even in part, to the

 defendants.” Id. at 1993.

        The Supreme Court also rejected plaintiffs’ “right to listen” theory of standing. Id. at 1996-

 97 (citation omitted). Such a “startingly broad” theory, the Court explained, “would grant all

 social-media users the right to sue over someone else’s censorship,” and the Court before “ha[d]

 ‘never accepted such a boundless theory of standing.’” Id. at 1996 (citation omitted). The Court

 emphasized that a cognizable injury occurs “only where the listener has a concrete, specific

 connection to the speaker.” Id. (citing Kleindienst v. Mandel, 408 U.S. 753, 762 (1972)). The

 Court held that plaintiffs did not satisfy this requirement with a general assertion that access to

 “unfettered speech on social media is critical to their work as scientists, pundits, and activists.” Id.



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                                        LEGAL STANDARD
        “A district court’s obligation to consider a challenge to its jurisdiction is non-

 discretionary,” In re Paxton, 60 F.4th 252, 256 (5th Cir. 2023) (quoting In re Gee, 941 F.3d 153,

 159 (5th Cir. 2019)), and “standing ‘is perhaps the most important of [the jurisdictional]

 doctrines,’” see Gee, 941 F.3d at 159. “To establish standing under Article III of the Constitution,

 a plaintiff must demonstrate (1) that he or she suffered an injury in fact that is concrete,

 particularized, and actual or imminent, (2) that the injury was caused by the defendant, and (3) that

 the injury would likely be redressed by the requested judicial relief.” Thole v. U.S. Bank N.A., 590

 U.S. 538, 540 (2020). “And when a plaintiff seeks prospective relief such as an injunction, the

 plaintiff must establish a sufficient likelihood of future injury.” Food & Drug Admin. v. All. for

 Hippocratic Med., 602 U.S. 367, 381 (2024). When seeking to enjoin alleged government

 participation in the content-moderation decisions of third-party platforms, for “direct censorship

 injuries,” under Missouri, “the plaintiffs must show a substantial risk that, in the near future, at

 least one platform will restrict the speech of at least one plaintiff in response to the actions of at

 least one Government defendant.” Missouri, 144 S. Ct. at 1986. Likewise, for a listener theory of

 standing, “the listener” must identify a “specific instance of content moderation that caused them

 identifiable harm,” id. at 1996-97, in addition to satisfying the standard traceability and

 redressability elements for any such injury, id. at 1987-96.

        A “[f]ailure to establish any” of the elements of standing “deprives the federal courts of

 jurisdiction to hear the suit.” Rivera v. Wyeth-Ayerst Lab’y, 283 F.3d 315, 318-19 (5th Cir. 2002).

 When a challenge to standing is asserted via a motion to dismiss for lack of subject-matter

 jurisdiction, the “burden of proof . . . is on the party asserting jurisdiction,” here, the plaintiffs.

 Shemwell v. City of McKinney, 63 F.4th 480, 483 (5th Cir. 2023) (per curiam). Each “plaintiff

 constantly bears the burden of proof that jurisdiction does in fact exist.” Id. A court cannot rule

 on the merits “when it has no jurisdiction” because “to do so is, by very definition, for a court to




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     act ultra vires.” See Cheejati v. Blinken, 106 F.4th 388, 397 (5th Cir. 2024) (Oldham, J.,

     concurring in part) (quoting Steel Co., 523 U.S. at 101-02).

                                                ARGUMENT

I.      The Supreme Court’s Determination On The Record Before It That Plaintiffs Lack
        Article III Standing Teaches That Dismissal For Lack Of Subject-Matter Jurisdiction
        Is Proper
            On essentially the same record as the one currently before this Court, the Supreme Court

     held that Plaintiffs failed to “establish[] standing to seek an injunction against any defendant.”

     Murthy, 144 S. Ct. at 1985; see also id. at 1997 (“The plaintiffs, without any concrete link between

     their injuries and the defendants’ conduct, ask us to conduct a review of the years-long

     communications between dozens of federal officials, across different agencies, with different

     social-media platforms, about different topics. This Court’s standing doctrine prevents us from

     exercising such general legal oversight of the other branches of Government.”) (alterations

     omitted). The Supreme Court’s reasoning and analysis warrants dismissal of the action.

           A. The Supreme Court’s Reasoning In Deciding Defendants’ Factual Challenge To
              Subject-Matter Jurisdiction Applies Equally At This Procedural Stage
            “Article III of the Constitution limits the jurisdiction of federal courts to ‘Cases’ and

     ‘Controversies.’” Id. And a “proper case or controversy exists only when at least one plaintiff

     ‘establish[es] that [she] ha[s] standing to sue.’” Id. Accordingly, because no Plaintiff had

     established standing to seek prospective relief, this court lacks subject-matter jurisdiction over the

     action, and the only permissible course is to dismiss without prejudice. See Fed. R. Civ. P. 12(h)(3)

     (“If the court determines at any time that it lacks subject-matter jurisdiction, the court must dismiss

     the action.”) (emphasis added). “If a dispute is not a proper case or controversy, the courts have

     no business deciding it.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006). That is,

     “[j]urisdiction is power to declare the law, and when it ceases to exist, the only function remaining

     to the court is that of announcing the fact and dismissing the cause.” Steel Co., 523 U.S. at 94

     (quoting McCardle, 74 U.S. at 514) (emphasis added). This action should be dismissed.

            Plaintiffs err in contending (Pls. Supp. 6) that the Supreme Court’s analysis can be shelved


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 on their theory that this Court must still “accept[] as true” Plaintiffs’ “allegations” in the currently-

 operative Third Amended Complaint. That misunderstands Defendants’ challenge to Article III

 standing and the Supreme Court’s resulting holding.

         The sum of the legal and factual conclusions the Supreme Court reached from the record

 is that Plaintiffs failed to carry their burden to establish standing as a factual matter. Indeed, the

 Supreme Court decided the question of standing on the full evidentiary record that Plaintiffs

 themselves assembled through discovery. When this Court applies the Supreme Court’s legal

 reasoning and factual conclusions in Missouri to Plaintiffs based upon the current record under

 Rules 12(b)(1) and 12(h)—as it must—the correct result is dismissal without prejudice. See Fed.

 R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-matter jurisdiction,

 the court must dismiss the action.”); see also Carver v. Atwood, 18 F.4th 494, 497 (5th Cir. 2021)

 (“[S]ua sponte dismissal is mandatory when a court discovers that it lacks subject-matter

 jurisdiction.”). That is because Defendants raised a factual challenge to standing, based on the

 record, in opposing the preliminary injunction motion, PI Opp. 128-36 (Dkt. 266), and in

 responding to Plaintiffs’ proposed findings of fact, including on their standing (Dkt. 266-8).

         Challenges to subject-matter jurisdiction can be “facial” or “factual”: A facial challenge

 to jurisdiction requires the court “merely to look to the sufficiency of the allegations in the

 complaint because they are presumed to be true.” Paterson v. Weinberger, 644 F.2d 521, 523 (5th

 Cir. 1981); see Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981). By contrast, in a factual

 challenge to jurisdiction, the defendant “submits affidavits, testimony, or other evidentiary

 materials.” Paterson, 644 F.2d at 523. To “defeat” a factual challenge, the plaintiff “must prove

 the existence of subject-matter jurisdiction by a preponderance of the evidence” and is “obliged to

 submit facts through some evidentiary method to sustain his burden of proof.” See Superior MRI

 Servs. v. All. Healthcare Servs., 778 F.3d 502, 504 (5th Cir. 2015). Such a “‘factual attack’

 . . . may occur at any stage,” In re S. Recycling, LLC, 982 F.3d 374, 386 (5th Cir. 2020), and on

 such a challenge the court “resolve[s] factual disputes,” and “devise[s] a method for making a

 determination with regard to the jurisdictional issue,” Moran v. Kingdom of Saudi Arabia, 27 F.3d

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 169, 172 (5th Cir. 1994) (citing, inter alia, Land v. Dollar, 330 U.S. 731, 735 & n.4 (1947)).

         The Supreme Court reviewed the available record and reached conclusions that are equally

 applicable at this procedural stage. In particular, in reviewing the Fifth Circuit’s judgment

 affirming in part this Court’s preliminary injunction and accompanying jurisdictional findings, the

 Supreme Court noted that “[t]he Fifth Circuit relied on the District Court’s factual findings, many

 of which unfortunately appear to be clearly erroneous.” Id. at 1988 n.4. For example, the Supreme

 Court explained that this Court “erroneously stated that Facebook agreed to censor content that

 did not violate its policies.” Id. The Supreme Court’s analysis of the record thus reflected the

 Court’s review of the entire factual record.

         The present record for Defendants’ motion to dismiss under Rule 12(b)(1) or 12(h)(3) is

 materially identical to the one before the Supreme Court. Part III, infra. And because Defendants

 have raised a “factual attack” on jurisdiction, Plaintiffs must rely on the evidentiary record rather

 than on mere pleadings. S. Recycling, 982 F.3d at 386. That record is insufficient to demonstrate

 any plaintiff’s standing, because no plaintiff can “show a substantial risk that, in the near future,

 at least one platform will restrict the speech of at least one plaintiff in response to the actions of at

 least one Government defendant.” Missouri, 144 S. Ct. at 1986. Plaintiffs therefore fail to carry

 their burden necessary to maintain this suit.

         But even if the correct focus were on pleadings rather than evidence, Plaintiffs fail to

 identify any factual allegations in the Third Amended Complaint that cure the jurisdictional

 deficiencies the Supreme Court identified. Nor could they. The allegations in the Third Amended

 Complaint reflect the same deficiencies that the Supreme Court identified with the record Plaintiffs

 assembled at the preliminary-injunction stage. For example, the Third Amended Complaint

 continues to “treat the defendants as a monolith,” when the Supreme Court explained that a court

 “must confirm that each Government defendant continues to engage in the challenged conduct,”

 Missouri, 144 S. Ct. at 1993. Compare id. (faulting Plaintiffs for “claiming broadly that ‘the

 government[t]’ continues to communicate with the platforms about ‘content-moderation issues’”),

 with, e.g., 3d Am. Compl. ¶ 185 (“Defendants have leveraged these threats to secure such increased

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 censorship of speakers, content, and viewpoints that they disfavor on social-media platforms; and

 they have now moved into a phase of open collusion with the threatened companies . . .”).

 Similarly, the Third Amended Complaint fails to plausibly allege ongoing Government conduct,

 as the Supreme Court emphasized it must. See Missouri, 144 S. Ct. at 1993 (“without proof of an

 ongoing pressure campaign, it is entirely speculative that the platforms’ future moderation

 decisions will be attributable, even in part, to the defendants”). To take one example, Plaintiffs

 allege that CISA in the present “receives reports of perceived ‘disinformation,’ often from state

 and local government officials, and forwards them to social-media companies for censorship.” 3d

 Am. Compl. ¶ 365. That allegation merely repeats factual argument that the Supreme Court held

 to be incorrect because, as the Supreme Court explained, CISA “stopped switchboarding . . . , and

 the Government has represented that it will not resume operations for the 2024 election.” Missouri,

 144 S. Ct. at 1993.

        Indeed, it is unsurprising that Plaintiffs’ allegations contain the same deficiencies as the

 record that the Supreme Court reviewed:        Plaintiffs repeatedly amended their pleading to

 incorporate some of the very evidence that the Supreme Court examined in concluding they failed

 to show standing. See, e.g., Jt. Statement on Discovery Disputes, Dkt. 71 at 25 (Plaintiffs argued

 in request for leave to file Second Amended Complaint that “discovery provided so far has

 produced an avalanche of revelations about new federal officials”). Plaintiffs’ argument now,

 focused on pleadings rather than the record, thus fails even on its own terms.

       B. The Supreme Court’s Reasoning Abrogates This Court’s Prior Decision On
          Defendants’ Rule 12 Motions
        To be sure, the judgment the Supreme Court reviewed was the Fifth Circuit’s affirmance

 in part of this Court’s preliminary injunction, not this Court’s denial of the motions to dismiss.

 But the Supreme Court’s analysis of Article III standing abrogated this Court’s analysis of Article

 III standing.

        For example, in denying Defendants’ November 2022 Rule 12(b)(1) motion, this Court

 concluded that the State Plaintiffs “have parens patriae standing because the Complaint has


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 adequately alleged injuries to the States’ quasi-sovereign interests.” Missouri v. Biden, 662 F.

 Supp. 3d 626, 652-53 (W.D. La. 2023). The Supreme Court disagreed: It underscored that “States

 do not have ‘standing as parens patriae to bring an action against the Federal Government.’”

 Missouri, 144 S. Ct. at 1997.

         Similarly, in analyzing the causation (or traceability) element of Article III standing, the

 Supreme Court faulted the Fifth Circuit and this Court for “attributing every platform decision at

 least in part to the defendants.” Id. at 1988. Rather, Article III requires Plaintiffs to make a

 “threshold showing that a particular defendant pressured a particular platform to censor a particular

 topic before that platform suppressed a particular plaintiff's speech on that topic,” id., which

 Plaintiffs did not do either in any complaint or in their preliminary injunction motion. Indeed,

 Plaintiffs continue to ignore the Supreme Court’s instruction. Even their latest submission (e.g.,

 Pls. Supp. 20) refers to Plaintiff Hines’s standing “to pursue her claims against Defendants”

 without identifying any particular Defendant’s conduct resulting in moderation of any particular

 speech on a particular platform. That is contrary to the Supreme Court’s rationale in Missouri,

 which “untangle[d] the mass of the plaintiffs’ injuries and Government communications,” and

 rejected the notion that Defendants can be regard “as a monolith,” i.e., without analyzing whether

 “each Government defendant continues to engage in the challenged conduct.” 144 S. Ct. at 1988,

 1993; see also Part III, infra.

         In other words, the Court’s prior Rule 12(b)(1) denial rested on mistaken legal premises

 the Supreme Court corrected in Missouri. Hence, this Court’s prior Rule 12(b)(1) denial does not

 preclude dismissal now. See United States v. Egenberger, 424 F.3d 803, 805 (8th Cir. 2005) (“The

 district court does not continue to be bound by prior interpretations of the law that are contrary to

 the Supreme Court’s most recent announcement.”); cf. Davis v. United States, 417 U.S. 333, 342

 (1974). The proper outcome is to dismiss the action for lack of subject-matter jurisdiction based

 upon on the factual record that the Supreme Court already considered and found wanting.

         To elevate this Court’s prior holdings at the motion to dismiss stage above those made by

 the Supreme Court, Plaintiffs attempt to downplay the significance of the Supreme Court’s holding

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 by arguing that the Supreme Court merely assessed the likelihood that Plaintiffs will prove “all

 aspects of their claims, including that they have standing for the specific relief sought.” Pls. Supp.

 2. But when the Supreme Court addressed standing, it made legal determinations that Plaintiffs’

 factual submissions were insufficient to satisfy Article III. Plaintiffs are now offering the same

 evidence—and the same legal theories—but are asking this Court to reach conclusions that are

 diametrically opposed to the Supreme Court’s. Plaintiffs cannot meet their burden to demonstrate

 standing under the standard articulated by the Supreme Court. Thus, this Court should dismiss

 this case for lack of jurisdiction under Rule 12(b)(1) or 12(h)(3).

        Plaintiffs’ authorities are not to the contrary. Plaintiffs err in relying (Pls. Supp. 2, 6) on

 Texas Alliance for Retired Americans v. Hughs, where the Fifth Circuit stayed a preliminary

 injunction despite raising “some concerns about whether Plaintiffs have standing.” 976 F.3d 564,

 567 n.1 (5th Cir. 2020). An appellate decision to stay an injunction does not imply that this Court

 has subject-matter jurisdiction to proceed in an action where the Supreme Court has already held

 the Plaintiffs lack Article III standing. Indeed, the Fifth Circuit in Texas Alliance repeated the

 familiar principle that the “merits panel will need to address standing before reaching the merits

 because standing is jurisdictional.” Id. Here, the Supreme Court addressed standing, and found it

 lacking.

        Barber v. Bryant, 860 F.3d 345 (5th Cir. 2017) (cited at Pls. Supp. 6), also undermines

 Plaintiffs’ position. On appeal from the grant of a preliminary injunction there, the Fifth Circuit

 held that “under th[e] current record, the plaintiffs have not shown an injury-in-fact,” and

 accordingly rendered “a judgment of dismissal for want of jurisdiction.” 860 F.3d at 358. The

 Fifth Circuit emphasized that it did “not foreclose the possibility that a future plaintiff may be able

 to show clear injury-in-fact that satisfies the ‘irreducible constitutional minimum of standing,’ but

 the federal courts must withhold judgment unless and until that plaintiff comes forward.” Id.

 Plaintiffs have not come forward with new evidence here that would compel a conclusion different

 from the Supreme Court’s. See Part III, infra. Similarly, here, then, this Court should issue a

 judgment of dismissal for lack of subject-matter jurisdiction.

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             Plaintiffs’ other authorities (Pls. Supp. 6) are inapposite. In H & W Indus., Inc. v. Formosa

      Plastics Corp., USA, 860 F.2d 172, 176 (5th Cir. 1988), the Fifth Circuit held that claims should

      not be dismissed “on the merits” based on evidence adduced at a preliminary injunction hearing.

      Defendants are not seeking such a dismissal “on the merits”; instead, the point is this Court cannot

      reach the merits because it lacks subject-matter jurisdiction. Behrens v. Pelletier, 516 U.S. 299,

      309 (1996), held that a district court’s assessment of qualified immunity “on summary judgment”

      will differ from one “on an earlier motion to dismiss.” But that holding does not imply that a

      plaintiff who fails to establish jurisdiction at the preliminary-injunction stage can avert Rule

      12(b)(1) dismissal. Nor is Greater New Orleans Fair Housing Action Center v. Kelly, 364 F. Supp.

      3d 635, 647-48 (E.D. La. 2019), instructive. In concluding that the organizational plaintiff there

      sufficiently alleged standing at the pleadings stage, the District Court rejected analogy to Louisiana

      Acorn Fair Housing v. LeBlanc, 211 F.3d 298, 304-06 (5th Cir. 2000), which held that an entirely

      different organization had failed to prove standing at trial. Of course, the pleadings stage and trial

      are different stages with different stages of proof, but that cannot support proceeding in the teeth

      of the Supreme Court’s holding in this action based upon a well-developed factual record.

                                        *       *       *       *       *

             The Supreme Court has held that the Plaintiffs in this action, on the current record (minus

      Plaintiffs’ supplemental submissions, addressed in Part III below) failed to establish Article III

      standing. Applying those factual findings and legal conclusions, this Court should reach the same

      result under Rule 12(b)(1) or 12(h)(3).

II.      If This Court Declines To Dismiss At This Time, Defendants Should Be Permitted To
         Test Plaintiffs’ Allegations Through Rule 12 Motion Practice Before Any Discovery
             If this Court instead returns this action to the pleading stage where Plaintiffs’ factual

      allegations (but not their legal conclusions) are accepted as true, the appropriate next step would

      be for Defendants to respond to the Third Amended Complaint (Dkt. 268), and for Rule 12 motion

      practice to precede authorization of any discovery. Plaintiffs may not return this action to the

      pleading stage to escape the direct consequences of the Supreme Court’s conclusions based on the


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 record, while simultaneously pushing into jurisdictional (let alone merits) discovery, without

 subjecting their most recent allegations to Rule 12 motions. What Plaintiffs propose would have

 this Court exercise “hypothetical jurisdiction,” which is prohibited. See Steel Co., 523 U.S. at 101.

        Rule 12 motions practice should precede burdensome discovery given the high likelihood

 that the Supreme Court’s decision in Missouri will, at a bare minimum, significantly bolster

 Defendants’ arguments and dispose of this action entirely. Good cause therefore would support a

 stay of discovery until this Court decides Rule 12 motions directed to the Third Amended

 Complaint (or a further amended pleading if Plaintiffs obtain leave to replead, which they should

 not, as Part IV explains). See, e.g., Von Drake v. Nat’l Broad. Co., No. 3:04-cv-652, 2004 WL

 1144142, at *1 (N.D. Tex. May 20, 2004) (stay of discovery appropriate where “the disposition of

 a motion to dismiss ‘might preclude the need for the discovery altogether thus saving time and

 expense’”) (quoting Landry v. Air Line Pilots Ass’n Int’l AFL-CIO, 901 F.2d 404, 436 (5th Cir.

 1990)); Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir. 1987) (“[T]he district court properly deferred

 discovery while deciding whether the defendants were proper parties to the action.”).2

        Moreover, because this action is consolidated with Kennedy, the controlling legal standard

 for Plaintiffs’ claims may shortly be furthered clarified by the Fifth Circuit when it decides the

 pending appeal from the preliminary injunction in that action, in which the court of appeals heard

 oral argument on October 8, 2024. Cf. Pls. Supp. 3-4, 8, 12-13, 15, 19-20, 24 (relying on this

 Court’s August 2024 decision in Kennedy, which is on appeal in No. 24-30252 (5th Cir.)).

 Accordingly, it would be prudent to await decision on that appeal before setting a Rule 12 briefing

 schedule.




        2
          Through a Rule 12 motion, for example, Defendants would seek dismissal of multiple
 agency defendants and their employees named as Defendants but as to which Plaintiffs do not
 allege conduct constituting “coercion” or “significant encouragement” toward platform content
 moderation choices. See Defs. Rule 12 Mem. 71 (Dkt. 128-1) (seeking dismissal of such agencies
 and defendants, including the Treasury Department and the Administrator of the U.S. Digital
 Service within the Office of Management and Budget).

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          Conversely, discovery without requiring Plaintiffs’ most recent allegations to satisfy Rule

   12 through motions practice would be improvident. That is particularly true given the threshold

   and immunity issues that Defendants have preserved, and the significant burdens of subjecting the

   Government to further discovery in such a “sprawling” action, in light of the Supreme Court’s

   decision that, at a minimum, calls into question Plaintiffs’ standing. Missouri, 144 S. Ct. at 1988;

   see Baxter v. Louisiana, No. 21-cv-555, 2022 WL 1509118, at *1 (M.D. La. May 12, 2022) (“This

   Court, relying on Fifth Circuit precedent, routinely stays discovery pending resolution of motions

   to dismiss raising threshold issues”); see also Paxton, 60 F.4th at 256 (“[W]e have vacated the

   perfunctory denial of a motion to dismiss predicated on sovereign immunity and remanded for

   consideration of the motion before any further litigation, even though the district court preferred

   to put off the motion until ‘other legal issues were resolved and further discovery was

   conducted.’”).

III.   Plaintiffs’ New Declarations Neither Show Article III Standing Nor Are Sufficient To
       Justify Discovery
          In an attempt to wipe the slate clean from their Supreme Court loss on the fundamental

   question of Article III standing and to lurch ahead to discovery, Plaintiffs present two new

   declarations from individual Plaintiffs Hines and Bhattacharya, whose previous submissions the

   Supreme Court found insufficient to establish standing. Whether treated as evidence or factual

   allegations if Plaintiffs were to “incorporate[]” them in an amended pleading (Pls. Supp. 24), the

   declarations do not cure the deficiencies that the Supreme Court identified. Once again, Hines and

   Bhattacharya do not satisfy their burden to establish a “real and immediate threat of repeated

   injury” any more than the record previously did. Missouri, 144 S. Ct. at 1986. And, contrary to

   Plaintiffs’ contention (Pls. Supp. 21), the new declarations are properly analyzed in the manner the

   Supreme Court proceeded—under the doctrine of Article III standing—rather than under

   principles of mootness, which would only be an appropriate line of inquiry if Defendants

   concentrated solely on events post-dating Plaintiffs’ entry into this action, which occurred at

   various points in 2022.


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        Moreover, Hines and Bhattacharya are the only Plaintiffs who offer new declarations,

 meaning that Plaintiff States (Louisiana and Missouri) and three Individuals (Martin Kulldorff,

 Aaron Kheriaty, and Jim Hoft) do not even attempt through new submissions to solve the problems

 the Supreme Court identified with their standing submissions.3 But new declarations as to Hines

 and Bhattacharya cannot show standing for all Plaintiffs because “standing is not dispensed in

 gross.” Missouri, 144 S. Ct. at 1988 (quoting TransUnion LLC v. Ramirez, 594 U.S. 413, 431

 (2021)); see also id. at 1990 (“It is unclear why” plaintiff “Jim Hoft would have standing to sue

 for his brother’s injury” stemming from content moderation of past post by Hoft’s brother)

 (emphasis added); Abdullah v. Paxton, 65 F.4th 204, 210 (5th Cir. 2023). So even if those two

 Plaintiffs have now shown standing, any injunctive relief could only run in their favor, and only

 against the particular Defendants that have allegedly injured them, and the remaining Plaintiffs

 and uninvolved Defendants should be dismissed.

       A. Plaintiffs Have Not Met Their Burden To Show Article III Standing To Seek
          Injunctive Relief Regarding COVID-19 Misinformation
        The new declarations from Hines and Bhattacharya do not solve the problems the Supreme

 Court identified in the standing of all Plaintiffs, including Bhattacharya and Hines, which required

 a “concrete link between [plaintiffs’] injuries and the defendants’ conduct” both in the past and on

 an ongoing basis. Missouri, 144 S. Ct. at 1997; see id. at 1989-92 (addressing causation for past

 injury); id. at 1993-96 (addressing causation and redressability for future injury). And the focus

 must be on “particular” conduct—for example, as to a past injury, the plaintiff must show that a

 “particular defendant pressured a particular platform to censor a particular topic before that

 platform suppressed a particular plaintiff ’s speech on that topic.” Id. at 1988.



        3
          For example, Kulldorff’s new assertion (Pl. Supp. 14-15) seeking to predicate further
 discovery on one of his Twitter posts that, allegedly, “the Virality Project flagged” is not found in
 the record. Nor does it rectify the lack of record evidence from which that nongovernmental
 research group’s conduct could be attributed to the Defendants. PI Opp. 49-51. Additionally, it
 does not purport to describe any content moderation decisions by Twitter, let alone decisions
 warranting prospective relief against any Defendant.

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        The new declarations describe various decisions by certain social media platforms as to

 posts by Hines and Bhattacharaya concerning COVID-19 misinformation. But critically, neither

 puts forward any new evidence that such moderation decisions are traceable to Defendants or that

 any ongoing or future injury from those decisions is capable of redress via an injunction against

 Defendants. They do not heed the Supreme Court’s instruction that “even where the plaintiff,

 platform, time, content, and defendant line up, the links must be evaluated in light of the platform’s

 independent incentives to moderate content.” Id. at 1988.

        As to causation: In assessing the future injury requirement, the Supreme Court emphasized

 that, “without proof of an ongoing pressure campaign” by Defendants against platforms, “it is

 entirely speculative that the platforms’ future moderation decisions will be attributable, even in

 part, to the defendants.” Id. at 1993. The Court concluded that “[o]n this record” that the alleged

 “frequent, intense communications that took place in 2021 between the Government defendants

 and the platforms had considerably subsided by 2022,” such that “[b]y August 2022, . . . the

 officials’ communications about COVID-19 misinformation had slowed to a trickle.” Id. at 1994.

 And for purposes of prospective relief, evidence of governmental communications in 2021 cannot

 show a present likelihood of future injury caused by any of the Defendants (much less all of them)

 and redressable by an injunction against them. Because “the Federal Government has wound down

 its own pandemic response measures,” an injunction directed at the government “is unlikely to

 affect the platforms’ content-moderation decisions” in the future. Id. at 1995-96.

        Hines does not cure those Article III deficiencies. She attests that her “commentary on

 social media, both on Facebook and Instagram, continue[s] to encounter censorship and

 suppression” by the platforms (4th Hines Decl. ¶ 6 (Dkt. 391-10)), and describes platform content

 moderation decisions regarding “posts . . . made after the Biden Administration supposedly

 considered” the COVID-19 “emergency to have ended” (id. ¶ 24).4 But the new Hines declaration

        4
         The content moderation incidents she describes include: September 2024 and June 2024
 Facebook moderation of personal page posts on COVID-19 vaccines (4th Hines Decl. ¶¶ 8-9);
 June 2024 Instagram moderation of a Health Freedom Louisiana (“HFL”) page post on COVID-

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 provides no evidence or reason to believe that Defendants “played a role” in the “moderation

 choices” described. See Missouri, 144 S. Ct. at 1988. Indeed, the Hines declaration is silent about

 any action by any Defendant.

         Hines therefore supplies no basis for characterizing the instances of purported content

 moderation as anything other than incidents in which the platforms “exercise[d] their independent

 judgment” under their terms of service and policies. See id. at 1987-88 (“the platforms continued

 to exercise their independent judgment even after communications with the defendants began,”

 and that “evidence indicates that the platforms had independent incentives to moderate content and

 often exercised their own judgment”). The new declaration thus provides no basis for departing

 from the Supreme Court’s analysis of the record.

        Nor does Hines address redressability: The company that owns Facebook and Instagram,

 Meta, is a “third party not before the court,” and the “independent action” of Meta, even when it

 results in injury to a plaintiff, is one “a federal court cannot redress” in this suit against the

 government. Missouri, 144 S. Ct. at 1986 (quoting Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26,

 41-42 (1976)) (emphasis added). In contending that Hines’s new declaration shows standing,

 Plaintiffs apparently further assume that each incident described shows “that the platforms

 continue to suppress their speech according to policies initially adopted under Government

 pressure.” Missouri, 144 S. Ct. at 1995. But even positing that such a factual assertion “may be

 true,” id., the Supreme Court concluded Plaintiffs still “have a redressability problem” because

 they lack “evidence of continued pressure from the defendants.” Id. (emphasis added). Without

 such evidence, there remains no basis to conclude that an injunction “stopping certain Government


 19 vaccines (id. ¶ 11); April 2024 Instagram moderation of a post on infant vaccinations (id. ¶ 12);
 March 2024 Facebook moderation of an HFL page March 2021 post on masking during the
 pandemic (id. ¶ 13); January 2024 Instagram moderation of a post on infant vaccinations (id. ¶ 16);
 September 2023 Facebook moderation of a post on COVID-19 deaths (id. ¶ 19); May 2023
 Facebook moderation of an Reopen Louisiana page post on COVID-19 vaccines (id. ¶ 22);
 September 2023 Facebook notification, in response to Hines’s sharing “from my HFL page to my
 personal page” of post regarding “government overreach,” that the HFL page “has repeatedly
 shared false information” (id. ¶ 18); and August 2023 Facebook moderation of a post on COVID-
 19 vaccines (id. ¶ 20).

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 agencies and employees from coercing or encouraging the platforms to suppress speech” would

 affect the platforms’ future content-moderation decisions. See id. at 1995-1996 & n.11. Plaintiffs

 therefore have done nothing to rectify that dispositive “redressability problem” before this Court.

        Nor can Hines predicate standing on the content moderation incidents she describes about

 posts concerning unspecified topics or topics other than COVID-19 misinformation.5 Given that

 the past injuries upon which Hines attempts to found her prospective relief claim concern platform

 COVID-19 misinformation policies, id. at 1990-92, incidents on other topics cannot meet the

 Article III obligation to “line up” the “plaintiff, platform, time, content, and defendant,” id. at 1988

 (emphasis added).      But Hines offers no allegations, much less evidence, of government

 involvement in moderation of content concerning topics other than COVID-19. The lack of “past

 restrictions likely traceable to the Government defendants” “substantially undermines [the

 plaintiffs’] standing theory.” Id. at 1993.

        Bhattacharya’s new declaration also does not fix the problems the Supreme Court identified

 as to his standing. Unlike Hines, Bhattacharya does not describe any incidents of platform

 moderation of his content not mentioned in previous declarations (Dkt. 10-3; Dkt. 227-5).

 Bhattacharya’s new declaration furnishes no evidence of any ongoing communications by any

 Defendant with any platform regarding Bhattacharya’s posts about COVID-19 misinformation (or

 any other topic).

            Instead, he describes a December 2022 Twitter post in which a writer perceived “an

 indication in the Twitter databases” that the platform “had placed” Bhattacharya “on a ‘trends

 blacklist’ to prevent the broader public from seeing” his content. 3d Bhattacharya Decl. ¶ 10 (Dkt.

 391-11).     Bhattacharya then describes his subsequent “visit” to Twitter headquarters at an

 “invitation from Elon Musk” in which Bhattacharya “confirmed” that December 2022 report,

 “indicating that I had indeed been placed by the pre-Elon Musk Twitter on a ‘blacklist,’” “when I

        5
           See 4th Hines Decl. ¶¶ 10, 15, 17, 21. The posts described there implicate platform
 policies concerning such varied issues as “trademark rights” (id. ¶ 17) and advertising sales (id.
 ¶ 15).

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 first joined Twitter in August 2021.” Id. ¶ 11. But Bhattacharya “was unable to determine,” even

 after discussion with “the Twitter engineer assigned to” him, “why Twitter had taken this action

 with respect to my account, and in particular,” Bhattacharya “was unable to determine whether

 Twitter had done this at the behest of prodding by the Biden Administration or as an independent

 action.” Id. (emphasis added). Such a conceded inability to determine the basis for the platform’s

 past decisions cannot possibly count as evidence that Defendants are responsible for those

 decisions moving forward. And Bhattacharya’s subjective belief that his “ideas on” COVID-19

 “management place” him “at risk for ongoing harm from social media censorship efforts by the

 Federal [G]overnment” (id. ¶ 12) is a speculative and “conclusory assertion[]” that cannot satisfy

 Plaintiffs’ burden. Ctr. for Biological Diversity v. EPA, 937 F.3d 533, 545 (5th Cir. 2019).

        Plaintiffs continue to offer mere “guesswork as to how” the “third-party platforms,” who

 are “independent decisionmakers,” will “exercise their judgment.” Missouri, 144 S. Ct. at 1986.

 Plaintiffs must instead “show that the third-party platforms will likely react in predictable ways to

 the defendants’ conduct.” See id. And the new declarations supply no evidence of “ongoing”

 conduct by Defendants against platforms concerning the declarant’s posts concerning COVID-19

 misinformation, leaving “it . . . entirely speculative that the platforms’ future moderation decisions

 will be attributable, even in part, to the defendants.” Id. at 1993 (emphasis added). The new

 declarations thus fail to show “a substantial risk that, in the near future, at least one platform will

 restrict the speech of” Hines or Bhattacharya “in response to the actions of at least one Government

 defendant,” and hence they do not support Article III standing for either of the declarants, or for

 any other Plaintiff. Id. at 1986. And Hines and Bhattacharya cannot establish standing by relying

 on alleged conduct toward nonparty speakers, such as Alex Berenson or members of the so-called

 “Disinformation Dozen.” See id. at 1990 (rejecting notion that Hoft could predicate standing on

 alleged conduct toward his brother).

        In any event, even if this Court were to set aside Missouri and hold that either Hines or

 Bhattacharya has shown sufficient standing, that would still warrant dismissal of the remaining

 Plaintiffs under Rule 12(b)(1). Such a dismissal would necessarily include the Plaintiff States

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 given their failure to file any new declarations or put forward any other evidence to rectify the

 deficiencies the Supreme Court identified in their standing—both as direct speakers purportedly

 injured by past government conduct, id. at 1989, and as sovereigns lacking parens patriae standing

 against the Federal Government, id. at 1996-97. Importantly, the Supreme Court reached those

 conclusions even while accounting for the guidance that “state plaintiffs are ‘entitled to special

 solicitude’ when it comes to standing.” See id. at 1996 n.11 (quoting Massachusetts v. EPA, 549

 U.S. 497, 520 (2007)).

          Moreover, Article III requires that “[a] plaintiff’s remedy must be tailored to redress the

 plaintiff’s particular injury.” Gill v. Whitford, 585 U.S. 48, 73 (2018). At most, only Hines or

 Bhattacharya could possibly remain as Plaintiffs predicated on their new declarations. Hence, the

 relief they seek (and the complaint itself, should it survive the Rule 12 motions described above in

 Part II) would have to be limited to an injunction tailored to actions by the pertinent Defendants

 “specifically target[ing]” content posted by those Plaintiffs—not social media platform users at

 large. Cf. Pls. Supp. 13. An injunction so limited to those individuals would largely or entirely

 eliminate any irreparable harm that they might face without burdening a vast universe of

 Government actions disconnected from those Plaintiffs. In Article III courts, “[t]he remedy must

 of course be limited to the inadequacy that produced the injury in fact that the plaintiff has

 established.” Lewis v. Casey, 518 U.S. 343, 357 (1996); see Gill, 585 U.S. at 72 (“The Court’s

 constitutionally prescribed role is to vindicate the individual rights of the people appearing before

 it.”).

          B. Plaintiffs Have Not Met Their Burden To Show Article III Standing To Seek
             Injunctive Relief Regarding Election Misinformation
          None of the new declarations attests to facts or even allegations about the past or present

 conduct of the FBI or CISA (let alone DHS as a whole) in communicating with platforms

 concerning election-related misinformation. Nor have Plaintiffs otherwise plausibly alleged, much

 less established, likely future conduct of the kind that would support injunctive relief against FBI

 or CISA (a point that, if necessary, Defendants would present in a Rule 12 motion directed to the


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 operative complaint, as Part II explains). See Missouri, 144 S. Ct. at 1993. The declarations also

 do not show any risk, let alone “a substantial risk,” that “in the near future, at least one platform

 will restrict the speech of” any Plaintiff “in response to the actions of” the FBI or CISA. Id. at

 1986; see id. at 1993 (holding as to FBI that Hoft “cannot satisfy his burden with . . . conjecture”).

 Such a harm, unaddressed in the declarations, is “too speculative,” All. for Hippocratic Med., 602

 U.S. at 383, and cannot be “certainly impending,” Clapper v. Amnesty Int’l USA, 568 U.S. 398,

 410 (2013).

        In that regard, Plaintiffs’ reliance (Pls. Supp. 20-21) on the new Bhattacharya declaration

 is incorrect. Bhattacharya states that he posted in April 2024 “on YouTube and on Twitter/X” a

 video of an interview he conducted with “Nicole Shanahan, the vice-presidential candidate running

 with Robert F. Kennedy Jr.,” and that Shanahan posted in August 2024 “on Twitter/X and

 elsewhere” an interview she conducted with Bhattacharya. 3d Bhattacharya Decl. ¶ 7. But

 Bhattacharya does not state that those platforms subjected those posts to any moderation measures,

 let alone that the FBI or CISA coerced or “significantly encouraged” any such measures.

        Also unavailing is Bhattacharya’s statement that his “public engagement with” Shanahan

 “on topics related to pandemic management and vaccines, places [him] at particular risk for

 ongoing censorship, as RFK Jr. has been the specific target of censorship activities by the federal

 government.” 3d Bhattacharya Decl. ¶ 12 (emphasis added). Bhattacharya’s effort to derive his

 Article III standing from Kennedy’s speech boils down to repetition of the prior contention that

 Bhattacharya has standing as a Kennedy listener. See 2d Bhattacharya Decl. ¶ 5 (he “frequently

 read and listen[ed] to the speech and writings on social media” of Kennedy, among others). That

 repeats the listener theory of standing rejected in Missouri. See 144 S. Ct. at 1996 (considering

 averment “that hearing unfettered speech on social media is critical to” some plaintiffs’ “work as

 scientists, pundits, and activists,” Court disallowed “assert[ed] injuries based on the restrictions

 that . . . other social-media users have experienced”); see also id. at 1990 (“It is unclear why” Hoft

 “would have standing to sue for his brother’s injury” stemming from Twitter moderation of past

 post by Hoft’s brother) (emphasis added).

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        Additionally, Kennedy has suspended his presidential campaign, see Kennedy Announces

 Suspension    of    Campaign     (Aug.     23,   2024),    https://www.kennedy24.com/kennedy_

 announces_suspension_of_campaign, and has sought removal of his name from ballots in multiple

 states.6 Those are facts this Court should take judicial notice of under Fed. R. Evid. 201(b)(2).

 See In re Alabama & Dunlavy, Ltd., 983 F.3d 766, 773 n.1 (5th Cir. 2020). In light of that

 suspension, this Court’s prior conclusions regarding Kennedy’s showing of standing predicated on

 his previous status as a Presidential candidate (conclusions Defendants challenge in the pending

 appeal in Kennedy) do not warrant extension to Bhattacharya or any other Plaintiff in this action.

        Nor does Hines’s statement that she is “likely to comment upon the upcoming presidential

 election,” 4th Hines Decl. ¶ 25, show any of the four components Missouri clarified were required

 for Hoft to show standing to seek forward-looking relief as to FBI: (1) his “future posts

 (presumably about the 2024 Presidential election) must contain content that falls within a

 misinformation trend that the FBI has identified or will identify in the future”; (2) the “FBI must

 pressure the platforms to remove content within that category”; (3) that “platform must then

 suppress Hoft’s post”; and (4) that platform “must do so at least partly in response to the FBI,

 rather than in keeping with its own content-moderation policy.” Missouri, 144 S. Ct. at 1994.

        Indeed, as to the second and fourth of those components, the FBI’s standard operating

 procedures as recently summarized underscore the insurmountable difficulties Plaintiffs would

 face in making the required showing.7 Here, “the challenged conduct . . . is ‘coercion’ and

        6
           See, e.g., Kennedy v. N.C. State Bd. of Elections, 905 S.E.2d 55, 58 (N.C. 2024)
 (prevailing on North Carolina removal); Kennedy v. Sec’y of State, 10 N.W.3d 632 (Mich. 2024)
 (not prevailing on Michigan removal); Kennedy v. Wis. Elections Comm’n, No. 20AP1872, 2024
 WL 4315199 (Wis. Sept. 27, 2024) (not prevailing on Wisconsin removal); see also In re
 Nomination Papers of Robert F. Kennedy, Jr., No. 386MD2024 (Comm. Ct. Penn. Aug. 23, 2024)
 (requesting dismissal of nomination papers so as not to appear on ballot).
        7
          The FBI’s summary of those procedures is attached as Ex. A. As the summary explains,
 the FBI’s meetings with platforms respect “the sense of Congress,” in 50 U.S.C. § 3369, “[that]
 information from law enforcement and the intelligence community is . . . important in assisting
 efforts by these social media companies to identify foreign information warfare operations.”
 Importantly, the standard operating procedures provide that “[a]ll communications to and with” a
 pertinent platform “are made in a way that makes clear,” among other things, that “the FBI is not

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 ‘significant encouragement,’ not mere ‘communication.’” Id. at 1993. The record contains no

 evidence or reason to believe that the FBI, or that CISA, had any communication with platforms

 regarding Bhattacharya or Hines or, for that matter, went beyond “mere ‘communication’”

 concerning anyone else. Id.; see Defs. Prelim. Inj. Opp. 91-101, Dkt. 266.

        Moreover, as the Supreme Court reasoned in Missouri in rejecting Hoft’s standing for

 prospective relief as to CISA, that agency “stopped switchboarding . . . , and the Government has

 represented that it will not resume operations for the 2024 election.” Missouri, 144 S. Ct. at 1993.

        And, for its part, Meta’s recent communication reinforces that the company does not view

 itself as bound to heed requests from the Government. P. 28, infra.

          Hence, even as supplemented, no Plaintiff has shown standing to obtain an injunction

 against the FBI or CISA, even assuming, arguendo, the new declarations are sufficient to show

 standing as to other Defendants (which they are not).

       C. Further Discovery Is Unwarranted

             1.Further jurisdictional discovery is unwarranted because Plaintiffs already received
               extensive discovery and inadequately explain how additional discovery will cure
               their standing deficiencies
        Plaintiffs’ supplemental brief simply does not satisfy the established standards for

 jurisdictional discovery. A federal court “is not required to defer ruling on a jurisdictional motion

 until all discovery contemplated by the plaintiff has been accomplished; instead, an opportunity

 for discovery is required.” Kelly v. Syria Shell Petro. Dev. B.V., 213 F.3d 841, 855 (5th Cir. 2000).

 “The party seeking discovery must establish its necessity.” Pace v. Cirrus Design Corp., 93 F.4th

 879, 902 (5th Cir. 2024) (quoting Freeman v. United States, 556 F.3d 326, 341 (5th Cir. 2009)).

 Such a discovery proponent must make “clear which specific facts” the proponent “expects . . . to

 find.” Id. (quoting Johnson v. TheHuffingtonPost.com, Inc., 21 F.4th 314, 326 (5th Cir. 2021))


 asking the Platform to take any action in response to the sharing of the information, and the
 Platform has no obligation to do so,” that “the FBI is not asking the Platform to change or amend
 its terms of service,” and that “no adverse action will be taken by the FBI based on the Platform’s
 decision about whether or how to respond to the information being shared.” Ex. A (emphasis
 added).

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 (emphasis added). By contrast, “vague assertions that additional discovery will produce needed,

 but unspecified facts” are “insufficient to allow jurisdictional discovery.” Id. at 902-03 (quoting

 Freeman, 556 F.3d at 341-42). Plaintiffs fail to meet those requirements.

        First, the extraordinary and intensive expedited discovery, spanning nearly seven months,

 provided Plaintiffs with more than sufficient “opportunity for discovery.” Kelly, 213 F.3d at 855.

 Indeed, the Supreme Court itself characterized the discovery Plaintiffs received at the preliminary-

 injunction phase as “extensive.” Missouri, 144 S. Ct. at 1984. When this Court granted Plaintiffs’

 motion for expedited preliminary injunction-related discovery, it authorized Plaintiffs to serve

 written discovery on the Defendants concerning “the identity of federal officials who have been

 and are communicating with social-media platforms about disinformation, misinformation

 . . . and/or any censorship or suppression of speech on social media, including the nature and

 content of those communications,” within five days of the Court’s order. Dkt. 34 at 13 (emphasis

 added). Defendants rapidly “produced more than 15,000 pages of discovery . . . , including

 communications between federal officials and social-media platforms about misinformation and

 disinformation,” In re Murthy I, Order at 2, No. 22-30697 (5th Cir. Nov. 21, 2022), and

 interrogatory responses totaling nearly 100 pages.8

        Additionally, Plaintiffs took full-day depositions of four witnesses (employees of the State

 Department, CDC, FBI, and Dr. Anthony Fauci, then of NIAID), and, following two Fifth Circuit

 orders on mandamus petitions requiring adherence to precedent on depositions of high-ranking

 government officials, Plaintiffs took full-day depositions of two more witnesses (employees of the

 Office of the Surgeon General and CISA). Id.; see In re Murthy II, Order at 7, No. 22-30697 (5th


        8
          Defendants explained that, subject to their objections, they produced non-privileged e-
 mail communications between Defendants and employees of Facebook, Twitter, LinkedIn,
 Instagram, and YouTube concerning misinformation “located within a review population
 consisting of e-mail files that (i) are collected from custodians who, having been identified through
 Defendants’ internal inquiry, are believed to have communicated with employees of the Social-
 Media Platforms; and (ii) contain one or more of Plaintiffs’ Search Terms.” Dkt. 179-5 at 6-7.
 Those Search Terms included, in turn, the names of individual Plaintiffs, i.e., “Hines” and
 “Bhattacharya.”

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 Cir. Jan. 5, 2023) (observing, in requiring consideration of alternatives to depositions of three high-

 ranking officials, that “[t]he federal government has produced thousands of pages of written

 discovery, and four depositions have already taken place”—all during an “early” stage, before

 resolution of the motion to dismiss) (emphasis added). And in lieu of a deposition of Robert

 Flaherty, then White House Director of Digital Strategy, Defendants additionally produced more

 than 500 documents totaling nearly 2,000 pages, while also providing detailed interrogatory

 responses verified by Mr. Flaherty. See Mem. Order at 9, Dkt. 148. Plaintiffs also obtained

 Government records through other means, such as agency releases under the Freedom of

 Information Act.

        Against that backdrop, Plaintiffs err in contending (Pls. Supp. 13) that they have not had

 “the opportunity to craft discovery requests to find out whether they were specifically targeted for

 censorship by government actors.” Even with all of that Government-provided material, Plaintiffs

 failed to show Article III standing for their preliminary injunction. That failure bespeaks the

 weakness of their arguments and hardly equips Plaintiffs with grounds for yet more discovery.

        Nor can jurisdictional discovery be supported by Plaintiffs’ plan (Pls. Supp. 13) to “seek to

 depose” six former government officials, including such former White House officials as Flaherty

 and a former White House communications director. That plan ignores Fifth Circuit orders

 underscoring that, as to high-ranking government officials (including Flaherty), “less intrusive”

 means of discovery must be explored first, such as alternative witnesses. Murthy I, Order at 3

 (applying In re FDIC, 58 F.3d 1055, 1062 (5th Cir. 1995)). And the Fifth Circuit clarified that the

 traditional limitations on such high-ranking government official depositions are “equally

 applicable to former officials,” such as the White House Press Secretary, “lest they be ensnared in

 unnecessary discovery upon leaving office,” and also that “‘unexceptional, public statements” by

 such officials “cannot supply the basis for compelled testimony without rendering the ‘exceptional

 circumstances test’ a hollow doctrine.” Murthy II, Order at 3, 5. Moreover, as to former White

 House officials, Plaintiffs do not address the Supreme Court’s warning about “the paramount

 necessity of protecting the Executive Branch from vexatious litigation that might distract it from

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 the energetic performance of its constitutional duties.” Cheney v. U.S. Dist. Ct. for D.C., 542 U.S.

 367, 382 (2004); see id. at 385 (teaching “that the Executive’s ‘constitutional responsibilities and

 status [are] factors counseling judicial deference and restraint’ in the conduct of litigation against

 it”). Plaintiffs’ plan to pursue depositions of former officials, including former White House

 officials, without so much as acknowledging the Fifth Circuit rulings limiting such depositions,

 including in this action, shows further that they have no valid ground for jurisdictional discovery.

 And testimony or documents about those officials’ past communications still would not fix

 Plaintiffs’ Article III problems as to causation and redressability for forward-looking relief against

 the Government, as described above.

        Plaintiffs’ interest in obtaining internal documents and depositions from nonparty platforms

 (Pls. Supp. 13) also does not undermine the sufficiency of the “opportunity for discovery” already

 provided. Kelly, 213 F.3d at 855. This Court authorized, among other things, Plaintiffs to serve

 “third party-subpoenas on up to five major social-media platforms.” Dkt. 34 at 13. Plaintiffs

 apparently chose not to fully pursue that pathway under Rule 45, which mandates “general[]

 sensitiv[ity]” to burdens on non-parties. See Watts v. SEC, 482 F.3d 501, 509 (D.C. Cir. 2007)

 (Kavanaugh, J., for the Court). Instead, when Plaintiffs argued they needed a deposition of the

 Surgeon General to question him about discussions with Facebook executive Nick Clegg, Plaintiffs

 stated that “[s]erving and enforcing a third-party subpoena on Clegg, a senior Facebook executive

 based in London, is not a realistic alternative to deposing” the Surgeon General.” Dkt. 137 at 20

 (emphasis added). Plaintiffs’ prior assertion that such a deposition was not a “realistic alternative”

 forecloses their contention that they did not have an “opportunity” for such a deposition before.

        Moreover, Plaintiffs’ reliance (Pls. Supp. 9-11) on platform internal documents, such as a

 July 2021 internal Facebook discussion Meta disclosed to a congressional committee, further

 undermines their contention that they need jurisdictional discovery to obtain even more such

 documents. Members of a committee of the House of Representatives described those platform




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 documents in amicus briefs in support of Plaintiffs.9 Yet the internal platform documents Plaintiffs

 describe do not cure their standing problems—giving no basis for concluding that even more

 internal platform documents will be a cure. In the discussion Plaintiffs quote, a Facebook

 employee opined that the platform “shouldn’t have” moderated particular COVID-19-related

 content after communications from the Government. Such internal debate about how the company

 exercised “independent judgment” in response to Government communications does not count as

 subservience to the Government. Missouri, 144 S. Ct. at 1987. If anything, the independence of

 that judgment is reinforced by a recent letter Plaintiffs quote from Meta’s CEO, Mark Zuckerberg,

 to Members of Congress. Pls. Supp. 11. Although the letter states that government officials

 “pressured” Meta “to censor certain COVID-19 content,” the letter goes on to emphasize that “it

 was [Meta’s] decision whether or not to take content down.” Letter from Mark Zuckerberg to Hon.

 Jim Jordan (Aug. 26, 2024), https://perma.cc/T87F-Y5KG. The letter also says Meta is “ready to

 push back if something like this happens again.” Id. That statement shows that the platform feels

 free to “push back” against the Government, consistent with the Supreme Court’s determination

 that Plaintiffs’ standing theory improperly assumed “each platform acted due to ‘government-

 coerced enforcement’ of its policies, rather than in its own judgment as an independent actor.” See

 Missouri, 144 S. Ct. at 1988.

        Second, Plaintiffs fail to make “clear which specific facts” they “expect[]” additional

 discovery will disclose to sustain standing, Pace, 93 F.4th at 902, and “[t]he court need not allow

 a plaintiff to conduct a jurisdictional fishing expedition,” Bell Helicopter Textron Inc. v. Am.

 Eurocopter, LLC, 729 F. Supp. 2d 789, 798 (N.D. Tex. 2010). Plaintiffs’ self-serving and

 conclusory assertions that there is “good reason to believe” or that it is “probable or likely” that


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           Br. of Rep. Jim Jordan et al., as Amici Curiae Supporting Plaintiffs-Appellees and
 Affirmance, Missouri v. Biden, No. 23-30445, 2023 WL 5275607 (5th Cir. Aug. 7, 2023). That
 Fifth Circuit amicus brief anticipated a substantially similar amicus brief, dated Feb. 9, 2024, in
 the Supreme Court in Missouri. Br. for Rep. Jim Jordan & 44 Other Members of Congress as
 Amici Curiae in Support of Respondents, Murthy v. Missouri, No. 23-411, 2024 WL 695116
 (U.S.).

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 “government officials targeted them for censorship” (Pls. Supp. 13-14 (emphasis added)) lack

 objective support.   And such assertions misunderstand the standard for prospective relief.

 Plaintiffs never explain what discovery they would seek to undermine the Supreme Court’s

 conclusion that the alleged “frequent, intense communications that took place in 2021” between

 the Government defendants and the platforms “had considerably subsided by 2022”—such that

 “[b]y August 2022, . . . the officials’ communications about COVID-19 misinformation had slowed

 to a trickle.” Missouri, 144 S. Ct. at 1994 (emphasis added). Governmental communications with

 platforms in 2021, the Court stressed, cannot show a present likelihood of future injury caused by

 any Defendant and redressable by an injunction against that Defendant: Because “the Federal

 Government has wound down its own pandemic response measures,” the Court reasoned, an

 injunction directed at the government “is unlikely to affect the platforms’ content-moderation

 decisions” in the future. Id. at 1995-96 (emphasis added).

        For example:     The Fifth Circuit rejected Plaintiffs’ contentions at the preliminary-

 injunction stage concerning Dr. Fauci (then at NIAID), concluding his statements were

 “quintessential examples of government speech that do not run afoul of the First Amendment,” 83

 F.4th at 391, meaning those contentions were not before the Supreme Court. Yet Plaintiffs still

 propose to seek unspecified additional discovery concerning past communications by Dr. Fauci.

 Pls. Supp. 15-17 & Exs. 1-9. But he is a former government official about whom Plaintiffs already

 obtained discovery, prominently including a full-day deposition. Here, again, Plaintiffs fail to

 explain how more discovery into past communications would establish that an injunction against

 the Government would change how a platform treated a Plaintiff’s posts by 2022, when the

 pandemic “response measures” of the Government had “wound down.” See Missouri, 144 S. Ct.

 at 1995-96.

        Rather than identify “specific facts” the requested jurisdictional discovery would furnish

 to cure the deficiencies the Supreme Court identified, Pace, 93 F.4th at 902, Plaintiffs simply

 attempt to convert each of those deficiencies into a broad discovery topic. For example, although

 Plaintiffs acknowledge (Pls. Supp. 18) the Supreme Court’s observation that “Facebook was

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 targeting” Hines’s “pages before almost all of its communications with the White House and the

 CDC,” Missouri, 144 S. Ct. at 1992, which the Court took to undercut the traceability of

 Facebook’s moderation of her content to past Government conduct, Plaintiffs then characterize

 that Supreme Court observation as “the sort of supposition that might turn out to be contradicted

 by further discovery” (Pls. Supp. 18) (emphasis added). But Plaintiffs point to no “specific facts”

 they currently have, or that they would reasonably expect to find through discovery, to

 “contradict[]” the Supreme Court’s observation.

        Similarly, Plaintiffs assert that “further discovery is warranted to gain a better

 understanding of the precise nature of the government’s ongoing involvement in censorship.” Pls.

 Supp. 20. But, again, Plaintiffs offer no facts that could undercut the Supreme Court’s conclusion

 that, as “the Federal Government has wound down its own pandemic response measures,” an

 injunction directed at the government “is unlikely to affect the platforms’ content-moderation

 decisions” in the future. 144 S. Ct. at 1995-96. No fact in the new declarations, apart from

 impermissibly “conclusory assertions,” shows otherwise. Ctr. for Biological Diversity, 937 F.3d

 at 545. And given that Plaintiffs have no factual basis for disputing the Supreme Court’s

 conclusion that there is no “ongoing pressure campaign” on which Plaintiffs can base standing,

 Missouri, 144 S. Ct. at 1993, their bare assertion that the discovery they seek will probe “ongoing”

 government “involvement in censorship” provides this Court no ground for allowing such

 discovery. “[S]tanding doctrine prevents us from ‘exercis[ing such] general legal oversight’ of the

 other branches of Government.” Id. at 1997 (quoting TransUnion, 594 U.S. at 423-24).

        Hence, given Plaintiffs’ failure to describe discovery requests that would furnish “specific

 facts” fixing the problems the Supreme Court ruled critical to their standing, this Court should not

 “allow” Plaintiffs to launch a “jurisdictional fishing expedition.” See Bell Helicopter Textron, 729

 F. Supp. at 797-98.

        In any event, even if the Court were to conclude that the new declarations suffice to support

 further discovery, any such further discovery—logically sequenced following disposition of Rule

 12 motions directed to the operative pleading, Part II, supra—would properly “be limited to only

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 that which is necessary to determine the preliminary jurisdictional issue.” Kelly, 213 F.3d at 849.

 (As noted above, Defendants ask that any discovery await decision on a motion to dismiss the

 operative complaint. Part II, supra.)

             2.Plaintiffs’ additional allegations of Government “misrepresentations” are unfounded
        Plaintiffs also level accusations of “dishonest[]” misconduct by the Government. Pls.

 Supp. 9; see id. at 7-12. Those baseless efforts to impugn the integrity of the Government’s defense

 of this action do not justify further discovery and cannot compensate for the fundamental

 deficiencies in Plaintiffs’ Article III standing that the Supreme Court pinpointed.

        As described above, during the extensive expedited discovery period, Defendants furnished

 Plaintiffs with thousands of pages of Government communications with major platforms about

 misinformation concerning the COVID-19 pandemic and recent elections; nearly 100 pages of

 interrogatory responses; and six witnesses for depositions.         During that discovery period,

 Defendants twice obtained appellate relief to limit the depositions in the manner required by

 precedents governing depositions of high-ranking government officials and twice the Fifth Circuit

 required consideration of alternative sources of information rather than allow Plaintiffs to go

 directly to the high-ranking government depositions they sought. In providing such “extensive”

 discovery, Missouri, 144 S. Ct. at 1984, Defendants were forthcoming. And Plaintiffs’ contrary

 accusations are unfounded. Tellingly, the only factual support Plaintiffs offer for their accusations

 of “dishonest” misconduct is in their description of documents internal to Meta describing the

 deliberations internal to that company.       Conceding those documents were “internal Meta

 documents,” which the company disclosed to Members of Congress (and which those Members

 then disclosed to the public and to the courts), Plaintiffs do not attempt to explain how Defendants

 could have produced those documents to Plaintiffs during expedited discovery in this action

 against the Government.

         Nor have the Defendants “intentionally” keep “secret,” or made “misrepresentations”

 about, the purported “censorship enterprise” Plaintiffs allege. Pls. Supp. 8-12. In this action,

 Plaintiffs mischaracterized virtually every Government communication with a platform as an act

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 of “censorship,” but those mischaracterizations are factually unsupported, as the Supreme Court

 explained in rejecting this Court’s “factual findings, many of which unfortunately appear to be

 clearly erroneous”—findings predicated on Plaintiffs’ preliminary injunction submissions.

 Missouri, 144 S. Ct. at 1988 n.4. For example, the Supreme Court noted that this Court stated

 “that Twitter set up a ‘streamlined process for censorship requests’ after the White House

 ‘bombarded’ it with such requests,” but the Supreme Court meticulously explained that the “record

 . . . cite[d] says nothing about ‘censorship requests.’” Id. Similarly: “[E]choing the plaintiffs’

 proposed statement of facts,” this Court “erroneously stated that Facebook agreed to censor content

 that did not violate its policies,” id. (citing 680 F. Supp. 3d at 714 n.655), but “[i]nstead, on several

 occasions, Facebook explained that certain content did not qualify for removal under its policies

 but did qualify for other forms of moderation,” id.

         More generally, “throughout the course of this litigation” (Pls. Supp. 12), Defendants

 disagreed with Plaintiffs’ conclusory assertions that the Government communications Defendants

 disclosed constituted “censorship,” and that disagreement was a fair response invited by Plaintiffs’

 allegations of a “censorship enterprise.” Such disagreement does not constitute misrepresentation.

              3.There is no basis for merits discovery
         This Court’s August 27, 2024 order directed submissions “on whether further

 jurisdictional discovery limited to the issue of standing could aid this court’s evaluation of its

 continuing jurisdiction over this case, or alternatively, whether dismissal is appropriate.” Dkt. 389

 at 1 (emphasis added). Plaintiffs nevertheless argue that the Court should launch a foray into

 merits discovery as well. That is incorrect.

         “Ordinarily, a court cannot issue a ruling on the merits ‘when it has no jurisdiction’

 because ‘to do so is, by very definition, for a court to act ultra vires.” Brownback v. King, 592

 U.S. 209, 218 (2021) (quoting Steel Co., 523 U.S. at 101-02). That ordinary principle controls

 here. A “ruling on the merits” absent subject-matter jurisdiction would be “ultra vires,” id., and

 discovery premised on issuing such a ruling would likewise be invalid, especially when the

 purported merits discovery is directed at the White House, see generally Cheney, 542 U.S. at 382,

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 385. Moreover, before any discovery, the court is obligated not only to assure that Plaintiffs have

 Article III standing, but also that the asserted claims fall within a waiver of sovereign immunity—

 and, here, the Agency Defendants argue Plaintiffs lack such a waiver as to them, see Defs.’ Rule

 12 Mem. 43-49 (Dkt. 128-1). Cf. In re Paxton, 60 F.4th at 256-57 (describing obligation to “first

 rule[] on official’s “assertion of immunity”).

         Yet Plaintiffs now strain (Pls. Supp. 3-4) to fit this action within the narrow category of

 actions in which, as the Supreme Court has put it, “the ‘merits and jurisdiction will sometimes

 come intertwined,’ and a court can decide ‘all . . . of the merits issues’ in resolving a jurisdictional

 question, or vice versa.” See Brownback, 592 U.S. at 217. Brownback was one such action

 because it concerned provisions of the Federal Tort Claims Act under which “a plaintiff must

 plausibly allege all six FTCA elements not only to state a claim upon which relief can be granted

 but also for a court to have subject-matter jurisdiction over the claim.” Id. at 217-18. “In cases

 such as” Brownback, “where a plaintiff fails to plausibly allege an element that is both a merit

 element of a claim and a jurisdictional element, the district court may dismiss the claim under Rule

 12(b)(1) or Rule 12(b)(6). Or both. The label does not change the lack of subject-matter

 jurisdiction, and the claim fails on the merits because it does not state a claim upon which relief

 can be granted.” Id. at 218 n.8 (emphasis added); see S. Recycling, 982 F.3d at 380-82 (rejecting

 “intertwinement” argument in admiralty action after examining whether “the statutory source of

 jurisdiction differs from the source of the federal claim,” “the jurisdictional issue can be extricated

 from the merits and tried as a separate issue,” and “judicial economy favors early resolution of the

 jurisdictional issue”).

         But here, there is no valid argument that the jurisdictional inquiry and the merits inquiry

 are coextensive. For that reason, the Supreme Court in Missouri “d[id] not reach the merits.” 144

 S. Ct. at 1985 n.3. Even assuming that some jurisdictional discovery were warranted, then, there

 is no basis for allowing pure merits discovery at this juncture. Rather, any discovery should be

 limited to facts pertinent to the jurisdictional inquiry set forth in the Supreme Court’s Missouri

 opinion.    Should the Court nevertheless determine that additional discovery is warranted, the

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  Court should direct the parties to meet and confer and submit proposals for any such discovery,

  following the Rule 12 motions practice described above. Part II, supra.

IV.   The Court Should Deny Leave For Plaintiffs To File A Fourth Amended Complaint
         Plaintiffs’ additional argument that this Court should grant them leave to file a fourth

  amended complaint to add unspecified individual members of the so-called “Disinformation

  Dozen” should also be rejected.10 To decide whether to grant leave to replead, the Court “may

  consider a variety of factors including ‘undue delay, bad faith or dilatory motive on the part of the

  movant, repeated failures to cure deficiencies by amendments previously allowed, undue prejudice

  to the opposing party . . ., and futility of the amendment.’” Marucci Sports, L.L.C. v. Nat’l

  Collegiate Athletic Ass’n, 751 F.3d 368, 378 (5th Cir. 2014). Denial of leave is also proper if the

  proposed amendment “would fundamentally alter the nature of the case.” Mayeaux v. La. Health

  Serv. & Indem. Co., 376 F.3d 420, 427 (5th Cir. 2004). The request for leave to replead should be

  denied on at least three grounds: (1) procedural deficiency; (2) untimeliness; and (3) futility.

         First, the request for leave to amend does not comply with Local Civil Rule 7.5, requiring

  that a “motion for leave to file a[n] . . . amended complaint . . . must be accompanied by the

  proposed pleading.” Without a proposed pleading, Defendants and the Court have no way to

  properly assess whether the proposed amendment would cure the jurisdictional deficiencies that

  the Supreme Court identified.        Plaintiffs do not even identify which members of the

  “Disinformation Dozen” they would add, precluding Defendants (and the Court) from conducting

  the “threshold” assessment of whether “a particular defendant pressured a particular platform to

  censor a particular topic before that platform suppressed a particular plaintiff’s speech on that

  topic,” Missouri, 144 S. Ct. at 1988 (second emphasis added). Nor do they provide allegations as


         10
            Those individuals are named in PI Opp. Ex. 44 at 6 (Dkt. 264-5) (Ctr. For Countering
  Digital Hate, The Disinformation Dozen, Why Platforms Must Act on Twelve Leading Online Anti-
  Vaxxers (Mar. 24, 2021)). They include Robert F. Kennedy, Jr., who is a Plaintiff in the action
  consolidated with this action, as well as Joseph Mercola and Ty and Charlene Bollinger. This
  Court in January 2023 denied a motion to intervene in this action by Kennedy, Mercola, and the
  Bollingers but granted in part their motion for access to certain discovery materials. Dkt. 171.

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 to specific Defendants. Leave to replead should be denied for this procedural deficiency alone.

 See Young v. U.S. Postal Serv. ex rel. Donahoe, 620 F. App’x 241, 245 (5th Cir. 2015) (where

 plaintiff “did not attach her proposed second amended complaint, as required by the rules,”

 “[d]enial of leave to amend is reasonable,” as plaintiff “fails to comply with the local rules”); JPay

 LLC v. Burton, No. 3:22-cv-1492, 2023 WL 5253041, at *11 (N.D. Tex. Aug. 15, 2023) (enforcing

 parallel local rule “requiring that requests for leave to amend be accompanied with the proposed

 amended pleadings”).

        Second, leave to amend should be denied because of undue delay. Marucci, 751 F.3d at

 378; United States ex rel. Willard v. Humana Health Plan of Tex., Inc., 336 F.3d 375, 387 (5th

 Cir. 2003). Plaintiffs offer no justification for their belated attempt to add unnamed individuals in

 the “Disinformation Dozen” as Plaintiffs. Plaintiffs plainly knew about the existence of the

 “Disinformation Dozen” from the outset of the case: When they first filed this action in May 2022,

 Plaintiffs included allegations in the initial complaint that the “Disinformation Dozen” “were

 singled out for censorship by the White House.” See, e.g., Dkt. 1 ¶¶ 170-71. Indeed, Plaintiffs

 have already amended their complaint three times over the past two years, and each amended

 pleading contained numerous allegations about those individuals. See Dkt. 45 (Am. Compl.)

 ¶¶ 186, 189, 285, 309; Dkt. 84 (2d Am. Compl.) ¶¶ 237, 240, 336, 341, 480; Dkt. 268 (3d Am.

 Compl.) ¶¶ 238, 241, 337, 342, 481.           Yet Plaintiffs never previously sought to add the

 “Disinformation Dozen” as plaintiffs. Moreover, if any of those individuals had decided to allege

 claims alongside Plaintiffs, those individuals could have moved to intervene in this action, see Fed.

 R. Civ. P. 24, or they could have filed their own action, as Robert F. Kennedy, Jr., did. Plaintiffs

 should not be permitted to use their own delay in adding those individuals to their pleadings as a

 basis for delaying dismissal of this action for lack of subject-matter jurisdiction consistent with the

 Supreme Court’s opinion in this action. See Kling v. Hebert, No. 19-cv-671, 2020 WL 4606869,

 at *14 (M.D. La. Aug. 11, 2020) (denying leave to amend requested to “clarify any ambiguity”

 because “proving and maintaining jurisdiction is . . . Plaintiff’s burden,” and plaintiff “failed to

 meet [defendant’s] evidence . . . to his detriment”).

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        Third, even under the scanty description of the proposed amendments Plaintiffs have

 provided, those amendments would be futile. Wilson v. Burks-Klockner, Inc., 602 F.3d 363, 368

 (5th Cir. 2010). Amendment merely to add some unspecified members of the “Disinformation

 Dozen” would introduce additional Plaintiffs whose grounds for Article III standing would be, at

 most, comparable to that of Hines, whose showing of standing the Supreme Court concluded was

 deficient: Hines had, at most, “eked out a showing of traceability for her past injuries,” Missouri,

 144 S. Ct. at 1992, but still failed to show causation and redressability for ongoing Government

 conduct as of her joining this action in 2022.          The President’s indirect reference to the

 “Disinformation Dozen” came amid remarks on COVID-19 in July 2021, see 3d Am.

 Compl. ¶¶ 341-42, and the Supreme Court emphasized that “[b]y August 2022, when Hines joined

 the case, the officials’ communications about COVID-19 misinformation had slowed to a trickle.”

 Missouri, 144 S. Ct. at 1990, 1994. Adding additional plaintiffs, even if they could place

 themselves in the same position as Hines, would not solve the problems the Supreme Court

 identified—a failure of any Plaintiff to show any ongoing conduct of any Defendant causing

 ongoing platform moderation and redressable by an order against any Defendant.

        Moreover, even apart from the failure of any member of the “Disinformation Dozen” to

 cure Plaintiffs’ standing deficiencies, the amended complaint would be futile because the claims

 asserted would not be facially plausible on the merits in light of National Rifle Association v. Vullo,

 602 U.S. 175 (2024), and hence would warrant Rule 12(b)(6) dismissal. There the Court explained

 that the Government does not violate the First Amendment simply by communicating and

 attempting to persuade. The Government may not engage in coercion, either by threatening

 sanctions or by providing comparably compelling positive inducements. But Plaintiffs have not

 plausibly alleged the kind of Government conduct that would violate the First Amendment.

 Although this Court previously denied a Rule 12(b)(6) motion as to the Second Amended

 Complaint, under the subsequent decisions in Missouri and Vullo, the proposed amended

 complaint will not withstand such a motion. The Supreme Court emphasized in Vullo that

 government officials are entitled to express their views (even forcefully) in an effort to persuade

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 private actors, so long as they do not make an implicit or explicit threat. Thus, “[t]o state a claim

 that the government violated the First Amendment through coercion of a third party, a plaintiff

 must plausibly allege conduct that, viewed in context, could be reasonably understood to convey

 a threat of adverse government action in order to punish or suppress the plaintiff ’s speech.” 602

 U.S. at 191. Defendants made no such threats here, as the Government’s brief in the pending Fifth

 Circuit explains. See Appellants’ Op. Br., Kennedy v. Biden, No. 24-30252, Dkt. 93 at 25-26, (5th

 Cir. Sep. 11, 2024).      Hence, an amended pleading adding one or more members of the

 “Disinformation Dozen” would not forestall Rule 12(b)(6) dismissal.

                                           CONCLUSION
        For the foregoing reasons, under the Supreme Court’s decision in Missouri, the Court lacks

 subject-matter jurisdiction to proceed further in this action because the Plaintiffs have not met their

 burden to establish Article III standing, and the proper course is to dismiss the action under Rule

 12(b)(1). The Court should further reject any additional jurisdictional or merits discovery and

 should deny Plaintiffs leave to amend their complaint.




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 Dated: October 8, 2024      Respectfully submitted,

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